       Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 1 of 15




Approved:
            KEVIN MEAD
            Assistant United States Attorney

Before:     HONORABLE ROBERT W. LEHRBURGER
            United States Magistrate Judge
            Southern District of New York

-----------------------------------x
                                    :
                                              22 MAG 0097
UNITED STATES OF AMERICA            :        SEALED COMPLAINT
                                    :
          - v. –                    :        Violations of 18 U.S.C.
                                    :        §§ 371 and 1001
                                    :
ROBERT ALCANTARA,                   :
                                    :        COUNTY OF OFFENSE:
                                    :        BRONX
               Defendant.           :
                                    :
-----------------------------------x
SOUTHERN DISTRICT OF NEW YORK, ss.:

          KIRAN MATHEW, being duly sworn, deposes and says that he
is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms,
and Explosives (“ATF”), and charges as follows:

                              COUNT ONE
                  (Conspiracy to Traffic Firearms)

     1.   From at least in or about September 2019 up to and
including in or about November 2021, in the Southern District of
New York and elsewhere, ROBERT ALCANTARA, the defendant, and others
known and unknown, willfully and knowingly combined, conspired,
confederated, and agreed together and with each other to commit
offenses against the United States, to wit, trafficking in
firearms, in violation of Title 18, United States Code, Section
922(a)(1)(A).

     2.   It was a part and an object of the conspiracy that ROBERT
ALCANTARA, the defendant, and others known and unknown, not being
licensed importers, licensed manufacturers, and licensed dealers
of firearms or ammunition within the meaning of Chapter 44, Title
18, United States Code, would and did willfully and knowingly
engage in the business of importing, manufacturing, and dealing in
firearms, and in the course of such business would and did ship,

                                    1
       Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 2 of 15



transport, and receive firearms in interstate and foreign
commerce, in violation of Title 18, United States Code Section
922(a)(1)(A) and (a)(1)(B).

                               Overt Acts

     3.   In furtherance of the conspiracy and to effect the
illegal objects thereof, ROBERT ALCANTARA, the defendant, together
with others known and unknown, committed the following overt acts,
in the Southern District of New York and elsewhere:

          a.      On or about November 20, 2021, ALCANTARA
purchased parts for 45 firearms for resale and then transported
those parts through the Bronx, New York.

           (Title 18, United States Code, Section 371.)

                               COUNT TWO
                          (False Statements)

     4.   On or about November 20, 2021, in the Southern
District of New York and elsewhere, ROBERT ALCANTARA, the
defendant, in a matter within the jurisdiction of the executive
branch of the Government of the United States, knowingly and
willfully did make materially false, fictitious, and fraudulent
statements and representations, to wit, during an interview with
a Special Agent from the Bureau of Alcohol, Tobacco, Firearms,
and Explosives, ALCANTARA falsely stated (i) that he had never
sold or transferred ownership of a firearm to any other
individual and (ii) that he had never transported a firearm to
the Dominican Republic, when in truth and in fact, ALCANTARA was
aware that he had sold or transferred ownership of firearms
before, and had transported firearms to the Dominican Republic.

      (Title 18, United States Code, Sections 1001 and 2.)

     The bases for my knowledge of the foregoing charges are, in
part, as follows:

     5.   I am a Special Agent with ATF and have been personally
involved in the investigation of this matter. This affidavit is
based upon my personal participation in the investigation, my
examination of reports and records, and my conversations with other
law enforcement agents and other individuals.         Because this
affidavit is being submitted for the limited purpose of
demonstrating probable cause, it does not include all the facts
that I have learned during the course of my investigation. Where

                                    2
       Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 3 of 15



the contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported in
substance and in part, except where otherwise indicated.

                                 Overview

     6.   ROBERT ALCANTARA, the defendant, has been involved in
the sale or attempted sale of what appear to be more than 100
firearms.   Most of the firearms are “ghost gun” handguns that
ALCANTARA purchased in incomplete form and then finished at a
workstation at his house, although ALCANTARA was also involved in
the sale of rifles. ALCANTARA sold most of the firearms in the
Dominican Republic. When interviewed by law enforcement about his
sales and shipments of firearms, ALCANTARA then falsely stated
that he had never sold firearms or transported them to the
Dominican Republic.

                        Background on “Ghost Guns”

     7.    Based   on    my   training   and   experience,   I   know   the
following:

          a.      Pursuant to the Gun Control Act, all firearms
manufactured or imported into the United States since October 22,
1968 must bear an identifying serial number.

          b.      One increasingly common way in which criminals
who wish to possess untraceable firearms evade this requirement is
through the use of what are colloquially known as “ghost guns,” or
privately made firearms (“PMFs”).

          c.      PMFs are firearms without serial numbers and
other manufacturer or importer markings, and are virtually
untraceable by law enforcement officials. These firearms can be
finished and/or assembled with the aid of common household tools
or specialized tools and equipment using gun build kits or
aggregated gun parts purchased online and elsewhere.

          d.     Criminals can purchase the tools and component
parts necessary to assemble or “machine”1   PMFs.  For example,


1 “Machining” is the process of cutting, shaping, or removing
material from a workpiece using a machine tool.

                                     3
       Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 4 of 15



individuals may purchase the upper and lower receivers of firearms.
A “lower receiver” or “frame” is the basic unit of a firearm in
pistols which houses the trigger and magazine. An “upper receiver”
or “slide” is the upper portion of a pistol, which chambers
ammunition into the barrel and extracts the spent casing after the
round is fired.      Companies such as an unnamed “ghost gun”
manufacturer (“Ghost Gun Manufacturer-1”), described in additional
detail   below,   frequently   sell  both   upper   receivers   and
“unfinished” lower receivers.    The “unfinished” lower receivers
(often referred to as “80%” or “80% finished” or “80% complete” in
industry parlance) are advertised as being 80 percent complete and
as not being a “firearm” as the term is defined in 18 U.S.C. §
921(a)(3), but which can be easily further finished and assembled
into a firearm receiver, and then combined with an upper receiver
or “slide” to create a fully functional firearm.2      A photograph
of an upper and lower receiver is below for reference:




2 I know from my experience with ATF that PMF kits are generally
referred to as “80%” firearm kits by the public. This is because,
in order to avoid regulation, PMF kit manufacturers market these
kits (or PMF frames and receivers) as being “80% complete.” ATF
does not use this terminology and does not use percentages of
completion to determine if a firearm is an unfinished part or
firearm (or frame or receiver) as defined in Title 18 of the United
States Code or the Code of Federal Regulations. A large number of
PMF suppliers, however, use some version of “80” or “80%” in their
name.
                                    4
       Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 5 of 15




          e.      Companies such as Ghost Gun Manufacturer-1 also
provide simple “how-to” guides on their websites explaining how
the lower receivers can be easily machined and combined with upper
receivers to produce fully functional firearms.

            Seizure of Parts for 45 “Ghost Guns” from
               ALCANTARA and Interview of ALCANTARA

     8.    Based on my involvement in the investigation, I know the
following:

          a.      On or about November 20, 2021, law enforcement
observed ROBERT ALCANTARA, the defendant, and a coconspirator
(“CC-1”) purchase approximately 46 upper receivers and 45 lower
receivers at a gun show in Morgantown, Pennsylvania.

          b.      On or about November 20, 2021, law enforcement
stopped ALCANTARA and CC-1 while driving in the Bronx, New York.
Law enforcement recovered the upper and lower receivers ALCANTARA
had purchased, photographs of which are below:




          c.      Law enforcement also seized a cellphone (the
“Alcantara Phone”).

          d.      Law enforcement arrested ALCANTARA,            and   the
following occurred during his post-arrest interview:

             i.     ALCANTARA was read his Miranda rights, waived
those rights, and agreed to speak to law enforcement.


                                    5
       Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 6 of 15



            ii.     ALCANTARA said that he had purchased the upper
and lower receivers for approximately $360 per pair, i.e.,
approximately $16,200 in total.

           iii.     ALCANTARA said that CC-1 had helped him load
the upper and lower receivers into his vehicle.

            iv.     ALCANTARA said that he resided at an address
in Providence, Rhode Island (the “Providence Address”), and was
transporting the upper and lower receivers from Pennsylvania to
Rhode Island.

             v.     ALCANTARA said that he was going to turn the
upper and lower receivers into completed firearms.

            vi.     ALCANTARA said that he has a YouTube channel
where he discusses firearms.

           vii.     ALCANTARA stated at one point in the interview
that he had 50 similar firearms at his house in Rhode Island, but
ALCANTARA later stated inconsistently that he did not have 50
firearms at his house in Rhode Island.

          viii.     ALCANTARA stated at one point in the interview
that he had purchased 20 similar “ghost gun” kits in August 2020,
but ALCANTARA later stated inconsistently that he did not purchase
those “ghost gun” kits.

            ix.     ALCANTARA stated that he did not intend to
sell the 45 firearms after he had completed them.

             x.     ALCANTARA stated that he had never sold or
transferred ownership of any firearm.

            xi.     ALCANTARA stated that he had never transported
any firearm to the Dominican Republic.

                   The Alcantara YouTube Account

     9.   I have reviewed       the       Alcantara   YouTube   Account   and
observed the following:


                                      6
       Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 7 of 15



          a.      I have reviewed a video dated September 28, 2019
in which ROBERT ALCANTARA, the defendant, states that he has a
firearm created using parts from Ghost Gun Manufacturer-1, places
an extended clip into the firearm, and then successfully test-
fires the firearm. A still image from that video is below:




               ALCANTARA’s “Ghost Gun” Home-Factory

     10. Law enforcement searched the Alcantara Phone pursuant to
a judicially-authorized search warrant. Law enforcement recovered
the following photographs from the Alcantara Phone:




Photograph-1                      Photograph-2          Photograph-3

     11. I know from my review of the Alcantara Phone that each
of the three photographs were “geotagged,” meaning that the exact
location where the photographs were taken are recorded in the

                                    7
       Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 8 of 15



metadata for the three photographs. The metadata shows that all
three photographs were taken at or near the Providence Address
where ROBERT ALCANTARA, the defendant, resides.3

     12. I know from my training and experience that the
photographs above show that ROBERT ALCANTARA, the defendant, has
been machining substantial numbers of “ghost guns” at the
Providence Address where he resides. In particular:

          a.      Photograph-1 shows machinery such as a sanding
belt, a hydraulic drill press, a vise-like tool, and a dremel tool
that I know from my training and experience to be tools used to
machine “ghost guns.” Photograph-1 also shows what appear to be
five finished “ghost guns.”

          b.      Photograph-2 is a close-up view of the five
completed “ghost guns” shown in Photograph-1. The logo of Ghost
Gun Manufacturer-1 is visible on each of the five “ghost guns.”
In addition, the mat the five “ghost guns” are resting on appears
to be branded with the name of a “ghost gun” retailer (“Ghost Gun
Retailer-1”), and has printed on it instructions as to how to
machine ghost guns.

          c.      Photograph-3 shows eight additional            firearms
that appear packaged for shipment or for sale.

        ALCANTARA’s “Ghost Gun” and Ammunition Purchases

     13. From my review of the Alcantara Phone,4 I have located a
conversation between ROBERT ALCANTARA, the defendant, and an
individual who appears to work for a ghost gun retailer
(“Representative-1” and “Ghost Gun Retailer-2”).         In that
conversation, ALCANTARA discussed purchasing kits for substantial
numbers of “ghost guns” and how to pay for those gun kits. In
particular:




3The location data states, specifically, that the photographs were
taken at a house directly next door to the Providence Address, but
I know from my training and experience that such a discrepancy is
generally within the margin of error for similar location data.

4 Many of the messages described in this Complaint are originally
in Spanish, and have been translated by a law enforcement officer
fluent in Spanish. The translations provided herein are in draft
form.
                                    8
       Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 9 of 15



          a.      In or about February 2021, ALCANTARA purchased
kits for 12 “ghost guns” from Ghost Gun Retailer-2 in exchange
for $5,200.   ALCANTARA discussed depositing cash directly into
Representative-1’s bank account or using a money-sharing
electronic application to pay for the “ghost guns” because,
ALCANTARA stated, “I have many issues with my bank account I move
to much money the bank suspect fraud.”

          b.      In or about March 2021, ALCANTARA messaged
Representative-1 photographs of what appear to be completed
versions of the ”ghost guns,” the parts for which he had purchased
from Ghost Gun Retailer-2.

          c.      Later in or about March 2021, ALCANTARA purchased
kits for six additional “ghost guns” in exchange for $2,575.

          d.      In or about April 2021, ALCANTARA purchased kits
for four additional “ghost guns” and one additional upper receiver
in exchange for $2,260.

          e.      Later in or about April 2021, ALCANTARA purchased
kits for 10 additional “ghost guns” in exchange for $4,340.

          f.      In or about May 2021, ALCANTARA purchased kits
for 14 additional “ghost guns” in exchange for $6,020.

          g.      In or about June 2021, ALCANTARA purchased kits
for 10 additional “ghost guns” in exchange for $4,630.

          h.      In or about July 2021, ALCANTARA purchased kits
for 10 additional “ghost guns” in exchange for $4,500.

          i.      In or about August 2021, ALCANTARA purchased kits
for six additional “ghost guns” in exchange for $2,850.

          j.      In or about November 2021, ALCANTARA discussed
purchasing a large number of “ghost gun” kits from Ghost Gun
Retailer-2 at the gun show in Morgantown, Pennsylvania.

     14. From my review of the Alcantara Phone, I have located a
conversation from in or about November 2021 in which ROBERT
ALCANTARA, the defendant, arranged to purchase approximately
$32,000 worth of various types of ammunition.            In that
conversation, ALCANTARA indicated that he was purchasing the
ammunition on behalf of others, and sent a picture of cash in an
envelope that he intended to use to pay for the ammunition.


                                    9
      Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 10 of 15



                   ALCANTARA’s “Ghost Gun” Sales

     15. From my review of the Alcantara Phone, I have identified
over a dozen conversations involving the messaging application
Signal in which ROBERT ALCANTARA, the defendant, discussed selling
firearms to “clients” in the United States or the Dominican
Republic. In particular:

          a.      I  have   reviewed   a   conversation with           a
coconspirator (“CC-2”) regarding the sale or transport                of
ammunition in which the following occurred:

             i.     In or about August 2021, ALCANTARA discussed
selling a substantial quantity of ammunition to CC-2, CC-2 messaged
a series of pictures showing that he had transferred approximately
$4,000 to accounts in ALCANTARA’s name, and ALCANTARA sent a
picture of a shipping confirmation stating that he was sending a
shipment to Miami, Florida.

            ii.     In or about August 2021, ALCANTARA and CC-2
exchanged messages indicating either that they were meeting
together in the Dominican Republic or that a shipment of
ALCANTARA’s was going to a destination in the Dominican Republic.

           iii.     In or about September 2021, ALCANTARA and CC-
2 exchanged messages indicating that ALCANTARA was delivering a
large   quantity  of   ammunition   to   CC-2  in   Philadelphia,
Pennsylvania.

          b.      I  have   reviewed   a   conversation   with   a
coconspirator (“CC-3”) regarding the sale or transport of firearms
in which the following occurred:

             i.     In or about April 2021, ALCANTARA sent the
following picture of firearms to CC-3, and shortly thereafter CC-
3 messaged ALCANTARA a picture of a large payment he made in the
currency of the Dominican Republic.




                                   10
      Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 11 of 15




            ii.     In or about July 2021, ALCANTARA messaged CC-
3 photographs of a large number of rifles in a context of messages
indicating that they were available for sale to CC-3:




           iii.     In or about November 2021, in the context of
discussing firearms, ALCANTARA messaged CC-3 that something was
“ready for exportation” and sent messages indicating that the
firearms would be transported to the Dominican Republic.

            iv.     In or about November 2021, ALCANTARA messaged
the following pictures to CC-3 and messaged CC-3, “look, that’s
the inventory.”




                                   11
      Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 12 of 15




          c.      I  have   reviewed   a   conversation   with   a
coconspirator (“CC-4”) regarding the sale or transport of firearms
in which the following occurred:

             i.     In or about July 2021, ALCANTARA messaged the
below photographs of firearms available for sale, and indicated
that he was in the Dominican Republic at the time:




                                   12
      Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 13 of 15




            ii.     In or about July 2021, in the context             of
discussing the sale of firearms, ALCANTARA messaged, “My mother       is
coming tomorrow. In case you wanted to send something.” Based         on
my training and experience, I understand that ALCANTARA offered       to
have his mother transport firearms to the Dominican Republic          if
CC-4 wanted to purchase additional firearms.5

           iii.     In or about August 2021, in the context of
discussing the sale of firearms and ammunition, ALCANTARA messaged
a shipping confirmation stating that a shipment was being sent to
Miami, Florida.

            iv.     In or about October 2021, ALCANTARA messaged
CC-4 the below photograph of suitcases filled with firearms and
United States currency, and the message, “On the dock of Haina,




5 At his November 20, 2021 interview, ALCANTARA stated that his
mother resided in the Dominican Republic.
                                   13
      Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 14 of 15



that came.” Based on my internet research, I know that Haina is
a port in the Dominican Republic.6




          d.      I  have   reviewed a   conversation  with  a
coconspirator (“CC-5”) from in or about November 2021 in which
ALCANTARA stated the following:

                     Glock 19 kit $ 510
                     15 kit = $ 7650
                     Tax $ 75x15 = $ 1,125
                     Assemble them $ 20x15 = $ 300
                     Something for the trip = $ 100
                     Original clips $ 29.95x15 = $ 449

                     Total: $ 9,624

Based on my training and experience, I understand this to refer to
the total price ALCANTARA charged to purchase, machine, and
transport 15 “ghost guns.”

     16. From my review of the Alcantara Phone, I have also
identified the below photographs of a firearm and a substantial
amount of United States currency that metadata shows were taken
with the Alcantara Phone in the Dominican Republic:




6 Based on my review of the messages, I understand that this photo
was initially forwarded to ALCANTARA, and may have been a shipment
sent by another illegal firearm trafficker.
                                   14
      Case 1:22-mj-00097-UA Document 1 Filed 01/05/22 Page 15 of 15




       ALCANTARA Does Not Have A License To Sell Firearms

     17. I     have reviewed government records establishing that
there is no   record of ROBERT ALCANTARA, the defendant, possessing
any federal   firearms license that would allow him to lawfully sell
firearms or   applying for such a license.

     WHEREFORE, I respectfully request that ROBERT ALCANTARA, the
defendant, be arrested and imprisoned, or bailed, as the case may
be.



                             s/ by the Court with consent
                           __________________________________
                           KIRAN MATHEW
                           Special Agent
                           Bureau of Alcohol, Tobacco, Firearms,
                           and Explosives



Sworn to me through the transmission of this
Affidavit by reliable electronic means, pursuant to
Federal Rules of Criminal Procedure 41(d)(3) and 4.1,
this 5th day of January, 2022


__________________________________
THE HONORABLE ROBERT W. LEHRBURGER
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORKs
                                   15
